Case: 4:22-cr-00596-SEP-PLC Doc. #: 2 Filed: 10/26/22 Page: 1 of 6 PageID #: 9
                                                                                                     FILED
                                                                                                  OC T 2 6 2022
                                                                                                V. S. DISTRICT COURT
                                                                                              EASTERN DISTRICT OF MO
                                UNITED STATES DISTRJCT COURT                                           ST. LOUIS
                                EASTERN DISTRJCT OF MISSOURI
                                      EASTERN DIVISION

 UNITED ST A TES OF AMERICA,                           )
                                                       )
 Plaintiff,                                            )
                                                       )
 V.                                                    ) No.     4:22CR596-SEP/PLC
                                                       )
 AS IA MCNEAL,                                         )
                                                       )
 Defendant.                                            )

                                            INDICTMENT

      The Grand Jury charges that:

                                          INTRODUCTION

      1.      The United States Small Business Administration (hereinafter "SBA") is an executive-

branch agency of the Un ited States government that provides support to entrepreneurs and small

businesses. The mission of the SBA is to maintain and strengthen the nation 's eco nomy by

enabling the estab li shm ent and v iab ility of small businesses and by assisting in econom ic recovery

after disasters.

      2.      To a id this effort, the SBA enabled and provided for loans through banks, cred it uni ons,

and other lenders. These loans have government-backed guarantees.

      3.      The Coronav irus Aid, Relief, and Economic Security (hereinafter "CARES") Act is a

federal law that was enacted in March 2020 to provide emergency financial assistance to the

millions of Americans suffering the eco nomic impact caused by the COVID-1 9 pandemic. One

source of relief provided for in the CARES Act is the authorizati on of forgivable loans to small

businesses for job retention and certain other expenses, through the Paycheck Protection Program

(hereinafter "PPP").
Case: 4:22-cr-00596-SEP-PLC Doc. #: 2 Filed: 10/26/22 Page: 2 of 6 PageID #: 10




        4.   To obta in a PPP loan, a qu al ifyi ng business is requ ired to submit a PPP loan

applicat ion, signed by an authori zed representati ve of the bus iness. T he PPP loan applicati on

requires the busi ness to acknowledge the program rul es and make certain affi rm ative certifications

in order to obtai n the PPP loan . In the PPP loan app li cation (SBA Form 2483), the small business

(thro ugh its authorized representative) is required to certify: (a) that the smal l business was in

operation on February 15, 2020; (b) average month ly payroll expenses; and (c) number of

employees. T hese certifications are used to calcul ate the amo unt of money th e small business is

eligib le to receive under the PPP. In add iti on, businesses appl y ing for PPP loans are required to

submit documentation supporting their payroll expen ses.

        5.   A PPP loan app lication is then processed by a participating lend er. If a PPP loan

application is approved, the participating lender funds the loan using its own monies, which are

then guaranteed by the SBA.

        6.   PPP loan fund s are required to be used on certain permissible expenses, including

payroll costs, mortgage interest, rent, and utilities for the business. Under the app li cable PPP rules

and guidance, the interest and principal on the PPP loan is eligible for fo rgiveness if the busi ness

spent the loan proceeds on these expense items w ithi n a designated period of time and used a

certain portion of the loan toward payrol l expenses.

        7.      -At a ll times relevant to this Indictment, Fountainhead SBF, LLC acted as a

participating lend er in the PPP program , and in that capacity, accepted and processed PPP loan

applications.

        8.   At all times relevant to this Indictment, Defendant As ia McNeal ("Defendant McNeal")

maintained a bank account end ing in -xx03 with Academy Bank from May until November of

2021.



                                                   2
Case: 4:22-cr-00596-SEP-PLC Doc. #: 2 Filed: 10/26/22 Page: 3 of 6 PageID #: 11




           9.     At al l times relevant to this Indi ctment, submission of the fraudulent PPP loan

app lication v ia intern et to Fountainhead SBF, LLC was co mpl eted by means of interstate w ire

commun ication.

           10.    At al l tim es relevant to this Indictment, payments from Fo unta inhead SBF, LLC to

Academy Bank were completed by means of interstate wire transfer.

           11.    Defendant McNeal was a resident of St. Louis, M issouri , in the Eastern District of

Missouri.

                                           COUNT!
                                  (WIRE FRAUD: 18 U.S.C. § 1343)

                                   THE SCHEME TO DEFRAUD

            12.    Paragraphs 1-11 are reall eged and incorporated by reference as if fully set forth

herein .

            13.   In or about Apri l 202 1, Defendant Mc eal, w ith intent to defraud, know ingly and

intentionally devised and executed a scheme and artifice to defraud, and obtain money and

property fro m Fountainhead SBF, LLC, by means of materiall y fa lse and fraudulent pretenses,

representations and promises in that Defendant McNeal, su bmitted a fraudulent PPP loan

application to Fountainhead SBF, LLC, by means of interstate wire communication.

                                      MANNER AND MEANS

            14.     It was part of the scheme to defraud that Defendant McNeal applied for a PPP

loan at Fountainhead SBF, LLC w ith the intent to fraudulently obtain loan proceeds by empl oying

material falsehoods.

            15.     It was further part of the scheme to defraud that the defendant fa lsely represented

in the PPP loan app lication that her company was in bus iness as of February 2020.




                                                    3
Case: 4:22-cr-00596-SEP-PLC Doc. #: 2 Filed: 10/26/22 Page: 4 of 6 PageID #: 12




           16.       It was furth er part of th e scheme to defra ud that, in fact, defend ant's company

was a fiction and did not exist.

          17.        It was furth er part of the scheme to defraud that th e defend ant fa lsely represented

in the PPP loan applicati on that her total gross income fo r 2019 was $ 153,019.

          18.        It was furth er part of the scheme to defra ud that Fo untainhead SB F, LLC reli ed

on the truthfuln ess of th e defend ant's represe ntations as to her inco me in reaching its decis ion to

iss ue the loan.

          19.        It was further part of th e scheme to defraud , that on or about April 30, 202 1,

Defend ant M c eal caused an interstate communi cati on to take place during the submi ss ion of the

fraudul ent PPP loan.

          20.        It was furth er part of th e scheme to defraud, th at on M ay 19, 202 1, another

interstate communi cati o n took place w hen $20,822. 00 in PPP loan fund s were w ired from

Fo untainhead SBF, LLC to Defend ant M cNeal' s acco unt ending in -xx03 at Academy Bank.

          2 1.       On or about the date set fo rth below, in St. Lo ui s, Misso uri , w ithin the Eastern

Di stri ct of M isso uri , the Defendant,

                                             ASIA MCNEAL,

fo r the purpose of executing th e scheme desc ribed above, cau sed to be transmitted by m eans of

w ire communi cati on in interstate comm erce the s igna ls a nd so und s described be low:

 COUNT                 DATE                 LOAN APPLICATION                         AMOUNT

      I            A pril 30, 202 1   SBA L oan # 646825 8902                        $20,833 .00
                                      App licati on for A s ia M cNea l
                                      submitted to obtain fund s from
                                      Fo untainhead SBF, LLC

      A ll in v io lati on of T itl e 18, United States Code, Secti o n 1343.




                                                      4
Case: 4:22-cr-00596-SEP-PLC Doc. #: 2 Filed: 10/26/22 Page: 5 of 6 PageID #: 13




                                  FORFEITURE ALLEGATION


The Grand Jury further find s by probable cause that:




        1.      Pursuant to T itle 18, United States Code, Sections 981 (a)(] )(C) and Title 28, U nited

States Code, Section 2461 , upon co nvicti on of offe nses in vio lation of Title 18, United States Code,

Section 1343 as set forth in Co unt I, Defend ant Asia McNeal shall fo rfe it to th e United States of

America any property, real or personal, w hi ch co nstitutes or is derived fro m proceeds traceabl e to

such vio lations. Subject to forfe iture is a sum of money eq ual to the total value of any property,

real or perso na l, constituting or derived from any proceeds traceable to such v io lation, which is

$20,833.00.




       2.       If any of the property described above, as a result of any act or om iss ion of the

defendant:

                a.      cannot be located upon the exercise of due diligence ;


                b.      has been transferred or so ld to, or deposited w ith, a third party ;


                c.      has been placed beyond the jurisd iction of the court;


                d.      has been substanti a ll y dimini shed in value; or


                e.      has been commingled with oth er property which cannot be divided


                        w ithout difficulty ,




                                                    5
Case: 4:22-cr-00596-SEP-PLC Doc. #: 2 Filed: 10/26/22 Page: 6 of 6 PageID #: 14




the United States of America will be entitled to the forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p ).


                                                              A TRUE BILL.




                                                              FOREPERSON
SAYLER A. FLEMING
United States Attorney




EDWARD DOWD, #61909(MO)
Assistant United States Attorney




                                                  6
